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                         Oral Argument Not Yet Scheduled

                           Case No. 22-7063
    _____________________________________________________________

              IN THE UNITED STATES COURT OF APPEALS
              FOR THE DISTRICT OF COLUMBIA CIRCUIT
          ____________________________________________________

        AMERICAN SOCIETY FOR TESTING AND MATERIALS, et al.,

                                                                Plaintiffs-Appellants,
                                          v.

                          PUBLIC.RESOURCE.ORG, INC.,
                                                   Defendant-Appellee.
    _____________________________________________________________

   NOTICE OF INTENTION TO PARTICIPATE AS AMICI CURIAE IN
                   SUPPORT OF APPELLEE

       Pursuant to D.C. Circuit Rule 29(b), intellectual property law professors Jamie

Boyle, Michael Carrier, Michael Carroll, Julie Cohen, Christine Farley, Shubha

Ghosh, Jim Gibson, Peter Jaszi, Mark Lemley, Lawrence Lessig, Yvette Liebesman,

Aaron Perzanowski, Victoria Phillips, Matthew Sag, Pamela Samuelson, Joshua

Sarnoff, Jessica Silbey, Xiyin Tang, and Rebecca Tushnet hereby notify this court

of their intent to file an amicus brief in the above-captioned matter in support of

Appellee. Pursuant to D.C. Circuit Rule 29(d), counsel to amici have coordinated

with other amici supporting Appellee and sought to ensure that the arguments

presented in this brief are novel and that a separate brief is necessary. All parties

consent to the filing of this brief.



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      Being individuals participating in their individual capacities, no corporate

disclosure statement is required under Circuit Rule 26.1(a).


                                          Respectfully submitted,


Dated: December 9, 2022                   /s/ Erik Stallman
                                          Erik Stallman

                                          Samuelson Law, Technology
                                             & Public Policy Clinic
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                         CERTIFICATE OF SERVICE

      I, Erik Stallman, an attorney, hereby certify that on December 9, 2022, I

caused the foregoing brief to be filed with the Court and to be served upon counsel

via the Court’s ECF email system.



Dated: December 9, 2022                     /s/ Erik Stallman




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